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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        SAN JOSE DIVISION
20

21    UNITED STATES OF AMERICA,
                                                        Case No. 5:25-cv-00951-PCP
22                        Plaintiff
                     v.                                 [PROPOSED] ORDER GRANTING
23                                                      DEFENDANTS’ MOTION FOR
                                                        EVEN ALLOTMENT OF TRIAL
24                                                      TIME AND TO PRECLUDE TRIAL
      HEWLETT PACKARD ENTERPRISE CO.
      and JUNIPER NETWORKS, INC.,                       BY SUBMISSION
25
                                                        Hon. P. Casey Pitts
26
                           Defendants.
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      [PROPOSED] ORDER GRANTING DEFENDANTS’
      MOTION FOR EVEN ALLOTMENT OF TRIAL TIME AND                               CASE NO. 5:25-CV-00951-PCP
      TO PRECLUDE TRIAL BY SUBMISSION
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 1          On June 10, 2025, Defendants Hewlett Packard Enterprise Co. and Juniper Networks, Inc.
 2   (“Defendants”), filed a Motion for Even Allotment of Trial Time and To Preclude Trial by Out-
 3   Of-Court Submission. The Court, having considered the materials on file on this issue, and being
 4   fully advised, HEREBY ORDERS that Defendants’ Motion is GRANTED. The following forms
 5   of relief, as described in the Motion, are enacted:
 6          (1) Trial time will be allotted equally between the sides and will be tracked via a chess
 7   clock applicable to all witness questioning.
 8          (2) Deposition designations and counter-designations will be played at trial and will count
 9   against the chess clock same as live testimony.
10          (3) The rule on sponsoring witnesses will be enforced at trial.
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12   SO ORDERED.

13    Dated:
                                                           HONORABLE P. CASEY PITTS
14                                                         United States District Judge
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      [PROPOSED] ORDER GRANTING DEFENDANTS’
      MOTION FOR EVEN ALLOTMENT OF TRIAL TIME AND                                CASE NO. 5:25-CV-00951-PCP
      TO PRECLUDE TRIAL BY SUBMISSION
